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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS

ALLIED WORLD SURPLUS LINES                        )
INSURANCE COMPANY,                                )
                                                  )
                     Plaintiff,                   )      Case No.: 3:21-cv-1156
                                                  )
       v.                                         )
                                                  )
SOUTHWESTERN ILLINOIS HEALTH                      )
FACILITIES, INC. dba ANDERSON                     )
HOSPITAL and PHYLICA LANG,                        )
                                                  )
                     Defendants.                  )

     PLAINTIFF ALLIED WORLD SURPLUS LINES INSURANCE COMPANY’S
         NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

       NOTICE IS HEREBY GIVEN that pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(i), Plaintiff Allied World Surplus Lines Insurance Company voluntarily dismisses

without prejudice the above-entitled action. Defendants have not yet answered the Complaint or

filed a motion for summary judgment.

Dated: October 12, 2021                    Respectfully submitted,

                                           ALLIED WORLD SURPLUS LINES
                                           INSURANCE COMPANY

                                    By:    /s/ Jonathan R. Walton
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                             CERTIFICATE OF SERVICE

        The undersigned counsel, Jonathan R. Walton, hereby certifies that the foregoing

document was served on all counsel of record via the Court’s CM/ECF system on October 12,

2021.


                                                /s/ Jonathan R. Walton
                                                Attorney for Plaintiff




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